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                     UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF LOUISIANA


MCARTHUR GRIFFIN                                                   CIVIL ACTION

VERSUS

REC MARINE LOGISTICS LLC, ET                             NO. 20-00092-BAJ-EWD
AL.

                                      ORDER

      IT IS ORDERED that the Parties shall file their post-trial motions in the

above-captioned matter within 30 days of the last trial transcript being filed to the

record.



                                Baton Rouge, Louisiana, this 24th day of May, 2023



                                       _____________________________________
                                       JUDGE BRIAN A. JACKSON
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA
